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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 7

J & M SALES INC., et al.                                      Case No. 18-11801 (LSS)
                                                              (Jointly Administered)
                           Debtors. 1


AFFILIATED FM INSURANCE COMPANY,

                           Plaintiff,

         v.
                                                              Adv. Pro. No.: 19-50109 (LSS)
GEORGE MILLER, NOT INDIVIDUALLY
BUT SOLELY AS CHAPTER 7 TRUSTEE
FOR THE BANKRUPTCY ESTATE OF J & M
SALES, SERVPRO OF SANTA MARIA,
FALLAS BORROWER IV, LLC, AND
MICHAEL FALLAS,

                           Defendants.


           AMENDED 2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                     HEARING ON APRIL 15, 2019 AT 11:00 A.M.

    CONTINUED/WITHDRAWN MATTERS:

    1.   Motion of Hendon Golden East, LLC for Order Compelling Debtors to Immediately
         Comply with 11 U.S.C. § 365(d)(3), and Pay Certain Post-Petition Lease Obligations
         [Filed 10/16/2018; Docket No. 660]

         Related Documents:                        None

         Response Deadline:                        Objection deadline continued generally for the
                                                   Trustee only.

         Responses Received:

1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
         are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc.
         (6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island
         Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management
         LLC (1924).
2
         Amended items are indicated in bold.


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                               (a)     Debtors’ Objection to Motion of Hendon Golden
                                       East, LLC for Order Compelling Debtors to
                                       Immediately Comply with 11 U.S.C. § 365(d)(3),
                                       and Pay Certain Post-Petition Lease Obligations
                                       [Filed 11/06/2018; Docket No. 770]

     Status:                           This matter is being continued to a date TBD.

2.   Motion of Enterprise FM Trust to Compel Assumption or Rejection of a Certain
     Unexpired Executory Contract and for an Administrative Expense Claim [Filed
     11/09/2018; Docket No. 784]

     Related Documents:                None

     Response Deadline:                Objection deadline continued generally for the
                                       Trustee only.

     Responses Received:
                               (a)     Debtor’s Response to Motion of Enterprise FM
                                       Trust to Compel Assumption or Rejection of a
                                       Certain Unexpired Executory Contract and for an
                                       Administrative Expense Claim [Filed 11/30/2018;
                                       Docket No. 921]

     Status:                           This matter is being continued to a date TBD.

3.   Motion of United Pacific Design, Inc. for an Order, Pursuant to 11 U.S.C. §§105(a)
     and 503(b) Authorizing and Compelling Payment of Administrative Expense Claim
     [Filed 01/07/2019; Docket No. 1104]

     Related Documents:
                               (a)     Declaration in Support //Declaration of Fred
                                       Dardashti in Support of Motion of United Pacific
                                       Design, Inc. for an Order, Pursuant to 11 U.S.C.
                                       §§105(a) and 503(b) Authorizing and Compelling
                                       Payment of Administrative Expense Claim [Filed
                                       01/07/2019; Docket No. 1105]

                               (b)     Certificate of Service [Filed 01/08/2019; Docket
                                       No. 1113]

     Response Deadline:                Objection deadline continued generally for the
                                       Trustee only.
     Responses Received:
                               (c)     Omnibus Objection of Gordon Brothers Finance
                                       Company to Motions for Payment of


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                                      Administrative Expenses      [Filed   01/22/2019;
                                      Docket No. 1199]

                              (d)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]

                              (e)     Omnibus Response to Various Motions Seeking
                                      Allowance and/or Immediate Payment of
                                      Administrative Expenses [Filed 01/25/2019;
                                      Docket No. 1233]

     Status:                          This matter is being continued to a date TBD.

4.   Motion of Weiser Security Services, Inc., for Immediate Payment of Administrative
     Expense Pursuant to Section 503(b)(1) of the Bankruptcy Code [Filed 01/08/2019;
     Docket No. 1117]

     Related Documents:               None

     Response Deadline:               Objection deadline continued generally for the
                                      Trustee only.
     Responses Received:

                              (a)     Omnibus Objection of Gordon Brothers Finance
                                      Company to Motions for Payment of
                                      Administrative Expenses [Filed 01/22/2019;
                                      Docket No. 1199]

                              (b)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]

                              (c)     Omnibus Response to Various Motions Seeking
                                      Allowance and/or Immediate Payment of
                                      Administrative Expenses [Filed 01/25/2019;
                                      Docket No. 1233]

     Status:                          This matter is being continued to a date TBD.

5.   Motion of Longs Drug Stores California, LLC (A) for Allowance and Payment of
     Administrative Expense Claim and (B) to Compel Debtors to Timely Perform Certain
     Lease Obligations [Filed 01/09/2019; Docket No. 1122]

     Related Documents:               None

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     Response Deadline:               January 23, 2019 at 4:00 p.m. Eastern Time;
                                      Extended to April 19, 2019 at 4:00 p.m. Eastern
                                      Time for the Trustee.

     Responses Received:
                              (a)     Omnibus Objection of Gordon Brothers Finance
                                      Company to Motions for Payment of
                                      Administrative Expenses [Filed 01/22/2019;
                                      Docket No. 1199]

                              (b)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]

                              (c)     Omnibus Response to Various Motions Seeking
                                      Allowance and/or Immediate Payment of
                                      Administrative Expenses [Filed 01/25/2019;
                                      Docket No. 1233]

     Status:                          This matter is being continued to a date TBD.

6.   Motion of Arena Shoppes, LLLP for Allowance and Payment of Administrative
     Claims Pursuant to 11 U.S.C. §§ 365 and 503 [Filed 01/10/2019; Docket No. 1131]

     Related Documents:               None

     Response Deadline:               Objection deadline continued generally for the
                                      Trustee only.

     Responses Received:
                              (a)     Omnibus Objection of Gordon Brothers Finance
                                      Company to Motions for Payment of
                                      Administrative Expenses [Filed 01/22/2019;
                                      Docket No. 1199]

                              (b)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]

                              (c)     Omnibus Response to Various Motions Seeking
                                      Allowance and/or Immediate Payment of
                                      Administrative Expenses [Filed 01/25/2019;
                                      Docket No. 1233]


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     Status:                          This matter is being continued to a date TBD.

7.   Motion of Seldat, Inc. for Allowance and Immediate Payment of Administrative
     Claim Pursuant to Section 503(b)(1) of the Bankruptcy Code [Filed 01/11/2019;
     Docket No. 1149]

     Related Documents:               None

     Response Deadline:               Objection deadline continued generally for the
                                      Trustee only.
     Responses Received:
                              (a)     Omnibus Objection of Gordon Brothers Finance
                                      Company to Motions for Payment of
                                      Administrative Expenses [Filed 01/22/2019;
                                      Docket No. 1199]

                              (b)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]

                              (c)     Omnibus Response to Various Motions Seeking
                                      Allowance and/or Immediate Payment of
                                      Administrative Expenses [Filed 01/25/2019;
                                      Docket No. 1233]

     Status:                          This matter is being continued to a date TBD.

8.   Motion of All Weather Fashions Ltd. for Allowance and Payment of Administrative
     Expense Claim Arising from Post-Petition Delivery of Goods [Filed 01/11/2019;
     Docket No. 1156]

     Related Documents:               None

     Response Deadline:               Objection deadline continued generally for the
                                      Trustee only.
     Responses Received:
                              (a)     Omnibus Objection of Gordon Brothers Finance
                                      Company to Motions for Payment of
                                      Administrative Expenses [Filed 01/22/2019;
                                      Docket No. 1199]

                              (b)     Omnibus Objection United States Trustee’s
                                      Omnibus Limited Objection to Applications for
                                      Allowance and Payment of Administrative Claims
                                      [Filed 01/22/2019; Docket No. 1203]


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                                (c)     Omnibus Response to Various Motions Seeking
                                        Allowance and/or Immediate Payment of
                                        Administrative Expenses [Filed 01/25/2019;
                                        Docket No. 1233]

      Status:                           This matter is being continued to a date TBD.

9.    Motion of Wicked Fashions, Inc. for Allowance of Administrative Claim Pursuant to
      11 U.S.C. § 503(b)(1) [Filed 01/16/2019; Docket No. 1175]

      Related Documents:                None

      Response Deadline:                Objection deadline continued generally for the
                                        Trustee only.

      Responses Received:
                                (a)     Omnibus Objection of Gordon Brothers Finance
                                        Company to Motions for Payment of
                                        Administrative Expenses [Filed 01/22/2019;
                                        Docket No. 1199]

                                (b)     Omnibus Objection United States Trustee’s
                                        Omnibus Limited Objection to Applications for
                                        Allowance and Payment of Administrative Claims
                                        [Filed 01/22/2019; Docket No. 1203]

                                (c)     Omnibus Response to Various Motions Seeking
                                        Allowance and/or Immediate Payment of
                                        Administrative Expenses [Filed 01/25/2019;
                                        Docket No. 1233]

      Status:                           This matter is being continued to a date TBD.

10.   HCP Highland Park LLC for (A) Allowance and Payment of Administrative Expense
      Claim and (B) to Compel Debtors to Timely Perform Certain Lease Obligations [Filed
      01/17/2019; Docket No. 1182]

      Related Documents:                None

      Response Deadline:                Objection deadline continued generally for the
                                        Trustee only.
      Responses Received:
                                (a)     Omnibus Objection of Gordon Brothers Finance
                                        Company to Motions for Payment of
                                        Administrative Expenses [Filed 01/22/2019;
                                        Docket No. 1199]


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                                (b)     Omnibus Objection United States Trustee’s
                                        Omnibus Limited Objection to Applications for
                                        Allowance and Payment of Administrative Claims
                                        [Filed 01/22/2019; Docket No. 1203]

                                (c)     Omnibus Response to Various Motions Seeking
                                        Allowance and/or Immediate Payment of
                                        Administrative Expenses [Filed 01/25/2019;
                                        Docket No. 1233]

      Status:                           This matter is being continued to a date TBD.

11.   Motion of A.F.M.K. Inc. dba Moda Gentleman for Allowance of an Administrative
      Claim Pursuant to 11 U.S.C. 503(b)(9) [Filed 01/21/2019; Docket No. 1195]

      Related Documents:                None

      Response Deadline:                Objection deadline continued generally for the
                                        Trustee only.

      Responses Received:
                                (a)     Omnibus Objection of Gordon Brothers Finance
                                        Company to Motions for Payment of
                                        Administrative Expenses [Filed 01/22/2019;
                                        Docket No. 1199]

                                (b)     Omnibus Objection United States Trustee’s
                                        Omnibus Limited Objection to Applications for
                                        Allowance and Payment of Administrative Claims
                                        [Filed 01/22/2019; Docket No. 1203]

                                (c)     Omnibus Response to Various Motions Seeking
                                        Allowance and/or Immediate Payment of
                                        Administrative Expenses [Filed 01/25/2019;
                                        Docket No. 1233]

      Status:                           This matter is being continued to a date TBD.


12.   Motion of 99 Cents Only Stores, LLC, Brixmor Operating Partnership LP, Federal
      Realty Investment Trust, PGI Management, PGIM Real Estate, Primestor
      Development, Inc., Valley Plaza, LLC, Watt Companies, Weitzman, and Wind Chime
      Properties, L.P. for Entry of an Order (I) Compelling Debtors' (A) Payment Certain
      Post-Petition Rent and Other Charges Due 11 U.S.C. § 365(d)(3) and Prior Orders of
      Court; and (B) Enforcement of Surcharge Rights; and (II) for Allowance And
      Payment of Administrative Expense Claims Pursuant To 11 U.S.C. § 503(B)(1)(A)
      Filed by 99 Cents Only Stores, LLC, Brixmor Operating Partnership LP, Federal
      Realty Investment Trust, PGI Management, PGIM Real Estate, Primestor
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      Development, Inc., Valley Plaza, LLC, Watt Companies, Weitzman, Wind Chime
      Properties, L.P. [Filed 01/23/2019; Docket No. 1215]

      Related Documents:
                                (a)     Notice of Hearing re: Motion of 99 Cents Only
                                        Stores, LLC, Brixmor Operating Partnership LP,
                                        Federal Realty Investment Trust, PGI Management,
                                        PGIM Real Estate, Primestor Development, Inc.,
                                        Valley Plaza, LLC, Watt Companies, Weitzman,
                                        and Wind Chime Properties, L.P. for Entry of an
                                        Order (I) Compelling Debtors' (A) Payment of
                                        Certain Post-Petition Rent and Other Charges Due
                                        Pursuant to 11 U.S.C. § 365(d)(3) and Prior Orders
                                        of Court and (B) Enforcement of Surcharge Rights,
                                        and (II) for Allowance and Payment of
                                        Administrative Expense Claim Pursuant to 11
                                        U.S.C. § 503(b)(1)(A) Filed by 99 Cents Only
                                        Stores, LLC, Brixmor Operating Partnership LP,
                                        Federal Realty Investment Trust, PGI Management,
                                        PGIM Real Estate, Primestor Development, Inc.,
                                        Valley Plaza, LLC, Watt Companies, Weitzman,
                                        Wind Chime Properties, L.P. [Filed 2/15/2019,
                                        Docket No. 1314]

      Response Deadline:                Objection deadline continued to a date TBD.

      Responses Received:
                                (a)     Limited Objection and Reservation of Rights of 99
                                        Cents Only Stores, LLC, Brixmor Operating
                                        Partnership LP, Federal Realty Investment Trust,
                                        PGI Management, PGIM Real Estate, Primestor
                                        Development, Inc., Valley Plaza, LLC Watt
                                        Companies, Weitzman, and Wind Chime
                                        Properties, L.P. to Certain Final Fee Applications
                                        [Filed 4/8/2019, Docket No. 1388]

      Status:                           This matter is being continued to a date TBD.

13.   SOCO, L.P.’s Motion for Entry of An Order (I) Compelling Debtors; Payment of
      Certain Post-Petition Rent and Other Amounts Due Pursuant to 11 U.S.C. § 365(d)(3)
      and Prior Orders of Court, (II) For Allowance and Payment of Administrative
      Expense Claim Pursuant to 11 U.S.C. § 503(b)(1)(A) and (III) To the Extent
      Necessary, Compelling the Debtors’ To Exercise Their 11 U.S.C. § 506(C) [Filed
      1/23/2019; Docket No. 1218]

      Related Documents:


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                                (a)     Motion to Shorten Notice of SoCo, L.P.s Motion for
                                        an Order (I) Compelling Debtors Payment of
                                        Certain Post-Petition Rent and Other Amounts Due
                                        Pursuant to 11 U.S.C. § 365(d)(3) and Prior Orders
                                        of Court, (II) for Allowance and Payment of
                                        Administrative Expense Claim Pursuant to 11
                                        U.S.C. § 503(b)(1)(A) and (III) to the Extent
                                        Necessary, Compelling the Debtors to Exercise
                                        Their 11 U.S.C. § 506(c) Surcharge Rights. [Filed
                                        1/23/2019; Docket No. 1219]

                                (b)     Objection to Motions to Shorten Notice Regarding
                                        Motions for Payment of Post-Petition Rent and
                                        Relating to Surcharge Rights. Filed by Gordon
                                        Brothers Finance Company. [Filed 1/24/2019;
                                        Docket No. 1220]

                                (c)     Notice of Hearing re Motion for Entry of an Order
                                        (I) Compelling Debtors Payment of Certain Post-
                                        Petition Rent and Other Amounts Due Pursuant to
                                        11 U.S.C. § 365(d)(3) and Prior Orders of Court,
                                        (II) For Allowance and Payment of Administrative
                                        Expense Claim Pursuant to 11 U.S.C. §
                                        503(b)(1)(A) and (III) To the Extent Necessary,
                                        Compelling the Debtors to Exercise Their 11
                                        U.S.C. § 506(c) Surcharge Rights. [Filed
                                        2/05/2019; Docket No. 1272]

      Response Deadline:                Objection deadline continued to a date TBD.

      Responses Received:               None

      Status:                           This matter is being continued to a date TBD.

14.   Motion of Phillip White for Relief from the Automatic Stay Pursuant to 11 U.S. C. §
      362(d) [Filed 02/19/2019; Docket No. 1321]

      Related Documents:                None

      Response Deadline:                March 4, 2019 at 4:00 p.m. Eastern Time; Extended
                                        to April 8, 2019 at 4:00 p.m. Eastern Time for the
                                        Trustee.

      Responses Received:               None

      Status:                           This matter is being continued to the May 15, 2019
                                        omnibus hearing date.
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15.   Application for Compensation and Reimbursement of Expenses (Fifth Monthly and
      Final) of Fox Rothschild LLP as Counsel to the Official Committee of Unsecured
      Creditors for the Monthly Period from January 1, 2019 through February 13, 2019
      and for the period (Final) from August 16, 2018 to February 13, 2019 Filed by Official
      Committee of Unsecured Creditors of J & M Sales Inc.. [Filed: 03/15/2019] (Docket
      No. 1350)

      Related Documents:                None

      Response Deadline:                May 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

      Status:                           This matter is being continued to the May 15, 2019
                                        omnibus hearing date.

16.   Application for Compensation and Reimbursement of Expenses (Sixth Monthly,
      Second Interim and Final Application) of Cooley LLP, Lead Counsel for the Official
      Committee of Unsecured Creditors for the (I) Monthly Period January 1, 2019 through
      February 4, 2019; (II) Interim Period of November 1, 2018 through February 4, 2019;
      and (III) for the period (Final) August 16, 2018 to February 4, 2019 Filed by Official
      Committee of Unsecured Creditors of J & M Sales Inc.. [Filed: 03/15/2019] (Docket
      No. 1351)

      Related Documents:                None

      Response Deadline:                May 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

      Status:                           This matter is being continued to the May 15, 2019
                                        omnibus hearing date.

17.   Application for Compensation and Reimbursement of Expenses of Province, Inc.
      (Combined Sixth Monthly and Final) as Financial Advisor to the Official Committee
      of Unsecured Creditors for the (I) Monthly Period from January 1, 2019 through
      February 3, 2019 and (ii) for the period (Final) from August 16, 2018 to February 3,
      2019 Filed by Official Committee of Unsecured Creditors of J & M Sales Inc.. [Filed:
      03/15/2019] (Docket No. 1354)

      Related Documents:                None

      Response Deadline:                May 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

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      Status:                          This matter is being continued to the May 15, 2019
                                       omnibus hearing date.

18.   Final Application for Compensation and for Reimbursement of Expenses for the
      period August 6, 2018 to March 5, 2019 Filed by Katten Muchin Rosenman LLP.
      [Filed: 03/18/2019] (Docket No. 1361)

      Related Documents:               None

      Response Deadline:               May 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:              None

      Status:                          This matter is being continued to the May 15, 2019
                                       omnibus hearing date.

19.   Final Application for Compensation and for Reimbursement of Expenses for the
      period August 6, 2018 to February 4, 2019 Filed by Pachulski Stang Ziehl & Jones
      LLP. [Filed: 03/18/2019] (Docket No. 1362)

      Related Documents:               None

      Response Deadline:               May 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:              None

      Status:                          This matter is being continued to the May 15, 2019
                                       omnibus hearing date.


20.   Application/Motion to Employ/Retain Benesch, Friedlander, Coplan & Aronoff LLP
      as General Bankruptcy Counsel for the Trustee Filed by George L. Miller. [Filed:
      02/21/2019] (Docket No.1323)

      Related Documents:
                               (a)     Notice of Filing of Exhibit [Filed 02/22/2019]
                                       (Docket No.1328)

                               (b)     Certificate of No Objection Regarding Docket No.
                                       1323 [Filed 03/08/2019] (Docket No.1337)

                               (c)     Proposed Order

      Response Deadline:               March 7, 2019 at 4:00 pm Eastern Time

      Responses Received:              None
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      Status:                           An Order has been entered. No hearing is
                                        necessary.

21.   Application/Motion to Employ/Retain Miller Coffey Tate LLP as Accountants and
      Bankruptcy Consultants Filed by George L. Miller. [Filed: 02/21/2019] (Docket
      No.1324)

      Related Documents:
                                (a)     Certificate of No Objection Regarding Docket No.
                                        1324 [Filed 03/08/2019] (Docket No.1338)

                                (b)     Proposed Order

      Response Deadline:                March 7, 2019 at 4:00pm Eastern Time

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

22.   Motion of Lynette Todd for Relief from the Automatic Stay Pursuant to 11 U.S. C. §
      362(D) [Filed 02/14/2019; Docket No. 1309]

      Related Documents:
                               (a)      Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the Automatic
                                        Stay [Filed 04/10/2019] (Docket No.1402)
                               (b)      Proposed Order (Exhibit 1 to D.I. 1402)

      Response Deadline:                March 4, 2019 at 4:00 p.m. Eastern Time; Extended
                                        to April 8, 2019 at 4:00 p.m. Eastern Time for the
                                        Trustee.

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

23.   Motion of Lorry Ward for Relief from the Automatic Stay Pursuant to 11 U.S. C. §
      362(D) [Filed 02/18/2019; Docket No. 1319]

      Related Documents:
                               (a)      Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the Automatic
                                        Stay [Filed 04/10/2019] (Docket No.1403)
                               (b)      Proposed Order (Exhibit 1 to D.I. 1403)

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      Response Deadline:                March 4, 2019 at 4:00 p.m. Eastern Time; Extended
                                        to April 8, 2019 at 4:00 p.m. Eastern Time for the
                                        Trustee.

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

24.   Motion for Relief from Stay Filed by Cindy B. Donnelly. [Filed: 03/15/2019] (Docket
      No. 1348)


      Related Documents:                None


                                (a)     Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the Automatic
                                        Stay [Filed 04/11/2019] (Docket No.1405)

                                (b)     Proposed Order (Exhibit 1 to D.I. 1405)

      Response Deadline:                April 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

25.   Motion for Relief from Stay Motion of Rosa Leticia Galindo Perez for Relief From
      Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code. Filed by Rosa
      Leticia Galindo Perez. [Filed: 03/15/2019] (Docket No. 1352)


      Related Documents:
                                (a)     Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the Automatic
                                        Stay [Filed 04/10/2019] (Docket No.1404)

                                (b)     Proposed Order (Exhibit 1 to D.I. 1404)

      Response Deadline:                April 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None



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      Status:                           An Order has been entered. No hearing is
                                        necessary.

26.   Motion to Establish Administrative Claims Bar Date Motion of Chapter 7 Trustee,
      George L. Miller, for an Order (i) Establishing the Deadline to File Requests for
      Payment of Certain Administrative Expense Claims Pursuant to 11 U.S.C. § 503(b),
      (ii) Approving Form and Manner of Notice thereof and (iii) Granting Related Relief
      [Filed: 03/8/2019] (Docket No.1336)

      Related Documents:
                                (a)     Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the
                                        Automatic Stay [Filed 04/11/2019] (Docket
                                        No.1408)

                                (b)     Proposed Order (Exhibit A to D.I. 1408)

      Response Deadline:                April 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

27.   Motion for Relief from Stay Filed by Joyce Iglesia. [Filed: 03/18/2019] (Docket No.
      1357)

      Related Documents:
                                (a)     Certification of Counsel Submitting Proposed
                                        Order Granting Limited Relief from the
                                        Automatic Stay [Filed 04/11/2019] (Docket
                                        No.1407)

                                (b)     Proposed Order (Exhibit 1 to D.I. 1407)

      Response Deadline:                April 8, 2019 at 4:00 p.m. Eastern Time

      Responses Received:               None

      Status:                           An Order has been entered. No hearing is
                                        necessary.

MATTERS GOING FORWARD:

28.   Motion of Plaintiff Affiliated FM Insurance Company For an Order Authorizing The
      Deposit of Funds into the Registry of the Court [Filed 04/1/2019; Docket No. 1380]

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      Related Documents:              None

      Response Deadline:              April 8, 2019

      Responses Received:
                                (a)   Objection of the Chapter 7 Trustee to the Motion of
                                      Plaintiff Affiliated FM Insurance Company for an
                                      Order Authorizing the Deposit of Funds into the
                                      Registry of the Court [Filed 04/9/2019, Docket No.
                                      1393]

      Status:                         This matter is going forward.

29.   Motion of Chapter 7 Trustee for an Order (i) Enforcing the Courts January 28, 2019
      Stipulated Order, (ii) Holding Affiliated FM Insurance Company in Contempt for
      Failure to Comply with Order, and (iii) Awarding Sanctions and Other Relief [Filed
      04/1/2019; Docket No. 1381]

      Related Documents:
                                (a)   Motion to Quash and for a Protective Order
                                      04/10/2019; Docket No. 1395]

      Response Deadline:              April 8, 2019

      Responses Received:
                                (b)   Response to Motion of Chapter 7 Trustee for an
                                      Order (I) Enforcing the Courts January 28, 2019
                                      Stipulated Order, (II) Holding Affiliated FM
                                      Insurance Company in Contempt for Failure to
                                      Comply With Order, and (III) Awarding Sanctions
                                      and Other Relief [Filed 04/9/2019, Docket No.
                                      1391]

      Status:                         This matter is going forward.

30.   Complaint Interpleading Insurance Policy Proceeds. Adversary case 19-50109.
      [Filed 02/28/2019; Docket No. 1]

      Related Documents:
                                (a)   Motion to Dismiss Adversary Proceeding [Filed
                                      04/3/2019; Docket No. 10]

      Response Deadline:              None

      Responses Received:             None


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      Status:                   The Pretrial Conference is going forward.


Dated: April 12, 2019                      BENESCH, FRIEDLANDER, COPLAN
       Wilmington, Delaware                  & ARONOFF LLP

                                                  /s/ Kevin M. Capuzzi
                                           Jennifer R. Hoover (No. 5111)
                                           Kevin M. Capuzzi (No. 5462)
                                           222 Delaware Avenue, Suite 801
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 442-7010
                                           Facsimile: (302) 442-7012
                                           jhoover@beneschlaw.com
                                           kcapuzzi@beneschlaw.com

                                           Proposed Counsel for George L. Miller,
                                           Chapter 7 Trustee




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